                                                                                    16-04139-DSC13
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                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA - SOUTHERN DIVISION

  In the Matter of:
   Mary A. Norris                        }      Case No: 16-04139-DSC13
   SSN: XXX-XX-2826                      }
      DEBTOR(S).                         }
                                         }
                                         }

                           COURTROOM DEPUTY NOTES
Matter(s):                 RE: Doc #34; Final Hearing on Motion for Relief from Stay filed by
                           Thomas Tutten, Attorney for Select Portfolio, Servicing, Inc.
Date and Time:             Tuesday, June 20, 2017 10:00 AM
Appearances:               Lauren Weber, attorney for Mary A. Norris (Debtor)
                           Thomas Tutten, attorney for Select Portfolio, Servicing, Inc.
                           Charles King, Assistant Chapter 13 Trustee

Courtroom Deputy:          Shewana Callies
Presiding Judge:           D. SIMS CRAWFORD

Court Notes:               By agreement, this matter is settled and Mr. Tutten shall submit a
                           proposed order.




Date Prepared:06/21/2017




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